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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                        )
                                                 )
                            Plaintiff,           )
                                                 )
v.                                               )      Case No. 4:06CR3062
                                                 )
ROBERT BERLIE,                                   )
                                                 )
                            Defendant.           )

                                         ORDER

       THIS MATTER comes before the Court on defendant's Unopposed Motion to

Continue Disposition Hearing, filing 214, now set for January 13, 2009, at 12:30 p.m. until

a date certain in approximately 60 to 90 days. The Court, being fully advised in the

premises, finds that said motion should be granted.

       IT IS THEREFORE ORDERED that the revocation hearing scheduled in this case

shall be continued until the 14th day of April, 2009, at 1:00 p.m. The defendant is ordered

to appear at such time.

       Dated this 8th day of January, 2009.

                                                 BY THE COURT:

                                                 s/ Richard G. Kopf
                                                 United States District Judge
